` Case 2:05-cv-02200-.]DB-dkv Document 12 Filed 07/05/05 Page 1 of4 Page|D 12

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UNITED sTATES DISTRICT coURT also ev ,},’£€_/o.ci
FoR THE WESTERN DISTRICT oF TENNESSE_E __5 PH 5a 13
WESTERN DIVIsIoN 05 JUL

UNITED sTATEs oF AMERICA AEM§S£F%T
upon the relation and W'D O‘Z wl memo
for the use of the

TENNESSEE VALLEY AUTHoRITY

Plaimiff

v. Civil Action No. 05-2200-B-P
EASEMENTS AND RlGHTS-OF-WAY
OVER A TOTAL OF ll.36 ACRES OF
LAND, MORE OR LESS, IN FAYETTE
COUNTY, TENNESSEE
ERNEST B. WILLIAMS, III, ET AL.

Defendants

 

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following
dates are established as the final dates for:

INITIAL DISCLOSURES (RULE 26(A)(1)): June 30, 2005

JOINING PARTIES: September 7, 2005

AMENDING PLEADINGS: September 7, 2005

COMPLETING ALL DISCOVERY: March 7, 2006

(a) DEPOSITIONS,INTERROGATORIES
and REQUESTS FOR ADMISSIONS: March 7, 2006

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' ` Case 2:05-cv-O2200-.]DB-dkv Document 12 Filed 07/05/05 Page 2 of4 Page|D 13

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff`s Experts: December 7, 2005
(ii) Defendants’ Experts: November 7, 2005
(iii) Supplernentation under Rule 26(e): December 22, 2005

(c) DEPosITIoNs oF EXPERTS: March 7, 2006
FILING DIsPosITIvE MoTIoNs: March 13, 2006
oTHER RELEVANT MATTERS:

Plaintiff expects to file by July 29, 2005, a motion With a Supporting brief
With respect to objections made by some of the Defendants to the taking in this
action.

The discovery requests that Were mailed by counsel for some of the
Defendants to Plaintiff prior to the date set for the scheduling conference in this
action shall be deemed to have been handed to Plaintiff on July 7, 2005. The
parties shall have 45 days to respond to all written discovery requests in this
action.

No depositions may be scheduled to occur after the discovery cutoff date.
All motions, requests for admissions, or other filings that require a response must
be filed sufficiently in advance of the discovery cutoff date to enable opposing
counsel to respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery
deadline or within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived

This case is set for jury trial, and the trial is expected to last three d.ays. The
pretrial order date, pretrial conference date, and trial date Will be set by the
District Judge.

This case does not currently appear to be appropriate for ADR. The parties
may consider engaging a court-annexed attorney mediation or private mediation
after the close of discovery.

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The parties are reminded that pursuant to Local Rule ll(a) (l) (A), all
motions, except motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, Without leave of the court. If
a party believes that a reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting forth the reasons for Which a reply
is required.

The parties have not consented to trial before the Magistrate Judge.

This order has been entered after consultation With trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not
be modified or extended

IT Is so oRDERED. M

TU M. PHAi\/i
UNITED sTATEs MAGISTRATE JUDGE

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. ¢GeorgY|`. L/ewis, III
Office of the General Counsel Baker D

 

onelson, Bearman, Caldwell &
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Attorney for Plaintiff Attorney for Defendants Ernest B.

Williams, III; Billie Anne Williams; David G.
Williams, Jr.; Anne Williams Dunn; Second
Presbyterian Church of Memphis, Tennessee;
Metropolitan InterFaith Association; and

Chickasaw Council, Boy Scouts of America
003739045

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02200 Was distributed by fax, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

